             Case 2:12-cr-00062-RSL        Document 698    Filed 03/14/13      Page 1 of 1



 1                                                             The Honorable Robert S. Lasnik
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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9

10
      UNITED STATES OF AMERICA,      )
11
                                     )                 NO. CR12-0062RSL
                          Plaintiff, )
12
                                     )
                  v.                 )                 ORDER TO SEAL
13
                                     )
      RICHARD ANTHONY ORTIZ, et al., )
14
                                     )
                        Defendants. )
15
                                     )
                                     )
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18           Having read the Government’s Motion to Seal and because of sensitive

19   information contained within,

20           It is hereby ORDERED that Exhibit 1 — Special Agent Nathan Clammer’s 88-

21   page affidavit, submitted to this Court on or about September 29, 2011 (Bates Nos.

22   000056-000143), shall remain sealed.

23           DATED this 14th day of March, 2013.

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26
                                               Robert S. Lasnik
                                               United States District Judge
27

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                                                                              UNITED STATES ATTORNEY
                                                                               700 Stewart Street, Suite 5220
     Order to Seal - 1                                                        Seattle, Washington 98101-1271
     U.S. v. Ortiz, et al., CR12-0062RSL                                               (206) 553-7970
